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 1
 2                              UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA
 3
                                     SOUTHERN DIVISION
 4
 5
       JOHN C. EASTMAN                                  Case No. 8:22-cv-00099-DOC-DFM
 6
 7                     Plaintiff,

 8     vs.
 9     BENNIE G. THOMPSON, et al.,
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                       Defendants.
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                                       PLAINTIFF’S STATUS REPORT
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15                   Pursuant to this Court’s orders of January 25 and 26 (ECF 41-43), plaintiff submits

16 this status report the Court:

17           1. Chapman University made a production to Dr. Eastman on the afternoon of January 25.
18              Undersigned counsel received the documents while in flight and could not download them
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                on the available internet. Undersigned counsel immediately contacted counsel for Chapman
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                to raise the issue and requested the documents be shared directly with Dr. Eastman for quicker
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                downloading. Chapman complied. Following further technical difficulties due to the size of
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23              the file, plaintiff was not able to download the file until approximately 10pm. Due to the late

24              hour, only a preliminary survey of the materials was possible on January 25.

25           2. Plaintiff himself has been in transit home from California today and will continue the review
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                process in coordination with counsel this evening.
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             3. Counsel for the congressional defendants requested plaintiff to stipulate to a particular
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 1         production schedule and requirements for the privilege log. Plaintiff intends to comply with
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           the privilege log instructions as set forth in the subpoena. Plaintiff further believes this
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           Court’s orders to date have made clear the need for expeditious review and further
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           micromanaging is not necessary.
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 6      4. Plaintiff has proposed that he Bates number the documents for production rather than

 7         Chapman. For technical reasons, this would greatly expedite the review process. Plaintiff

 8         awaits the congressional defendants’ position on this request.
 9
        5. Plaintiff has proposed the committee waive its request for metadata in the subpoena because
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           conducting a separate privilege analysis on the metadate for each document will greatly
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           prolong the review process. Plaintiff awaits the congressional defendants’ position on this
12
           request.
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14      6. Plaintiff strongly disputes any suggestion from the congressional defendants that he has

15         undertaken this privilege review with anything other than the greatest dispatch.
16      7. Dr. Eastman intends to comply with this Court’s January 26 order while preserving his
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           objections to the rulings and factual findings contained therein, as stated in his various filings
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           and on the record during the January 24 hearing.
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 1 January 26, 2022                        Respectfully submitted,
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 3
                                           /s/Anthony T. Caso
 4
                                           Anthony T. Caso (Cal. Bar #88561)
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 9
10                                         /s/ Charles Burnham
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18                                         Counsel for Plaintiff

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 1                                      CERTIFICATE OF SERVICE
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           I hereby certify that a copy of this filing has been served on all parties through the Court’s ecf
 3
     system.
 4
                                                                 By: /s/ Charles Burnham
 5                                                               Charles Burnham
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 6
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